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B 2100A (Form 2100A) (12/15)



                         UNITED STATES BANKRUPTCY COURT
                                            Eastern DistrictDistrict
                                            __________       of Arkansas
                                                                     Of __________

        Carmil Suggs
In re ________________________________,                                                                      4:18-bk-16611
                                                                                                  Case No. ________________




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



   BankUnited, N.A.
______________________________________                                           Carrington Mortgage Services, LLC
                                                                            ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):     13
should be sent:                                                             Amount of Claim:       99,699.97
          Customer Service Research Dept                                    Date Claim Filed:     02/14/2019
          PO Box 028569
          Miami, FL 33102

           866-731-3454
Phone: ______________________________                                       Phone:      800-561-4567
                               6527
Last Four Digits of Acct #: ______________                                                                 6527
                                                                            Last Four Digits of Acct. #: __________

Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

     /s/ "Aaron D. Caldwell"
By:__________________________________                                               December 30, 2020
                                                                            Date:____________________________
        Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
